Case 1:19-cv-00416-UNA Document1 Filed 02/19/19 Page 1of5

UNITED STATES DISTRICT AND BANKRUPTCY COURTS

FOR THE DISTRICT OF COLOMBIA

Dannette Martin

5551 B street, SE Case: 1:19-cv-00416  F Deck
Assigned To : Unassigned

Assign. Date : 2/19/2019
(202)-910-9616 Description: Pro Se Gen. Civil

Washingtonpc 20019

VS

Komba’s Auto Shop
1396 Florida Ave Ne

Washington Dc 20002

RECEIVED
FEB 19 2019

Clerk, U.S. District and
COMPLAINT Bankruptcy Courts

On the date of July 14 , 2017, my 1999 Chrysler Sebring gold in color, was stolen from above shop while
in my car was getting worked on in their possession. was not made ware until the next day at 12;00 p.m

The worker of the car repeatly drove and giot parking tickets while in their possession as well. The car
Case 1:19-cv-00416-UNA Document1 Filed 02/19/19 Page 2 of 5

has gotten hundreds of dollars in tickets and fines. The tags were stolen and never found which acquired
many of those tickets The car was also just in the shop for a $700 tune up, not fully fixed . | returned
the car to the shop and then it was stolen. | have not been able to drive or move the car still on this

date. | am asking for a amount of $7500 in damages and in tickets that have impacted my life in a great

[A

Dannette Martin

deal, pain and suffering .

5551B Street SE

Washington,Dc 20019
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Case Dugeviogsoums obsberldistrichaefdzabnin Deage 3 of 5
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™ . SMALL CLAIMS AND CONCILIATION BRANCH
Bidg. B, 510 4th Street, N.W., RM -120
WASHINGTON, D.C. 20001 = TELEPHONE 879-1120

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Plaunsifftys “Dependant nla ety |

ss5\_ Meet Se ed 34 \o Cewda Peace 1p
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ee No OES Qio- QoL No. SC ——= |
STATEMENT OF CLAIM

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“ADMIEQS Pro Senice \e Ca “Mae we foc
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DISTRICT OF COLUMBIA, SS: being first duly sworn on oath says
the foregoing ts a just and true statement of the amount owing by the : defendant to plainuff, exclusive of all set-offs aad just grounds of

defense. wantka YY. | , Tyyette

(Dyas gent (Sign and Print cae Address

 

Title: Cin/State/Zip Code
Phone No.:

Subscribed and swom to before me this day of » 20
" (month and year}

 

 

 

 

Deputy Clerk (or notary public)

 

Attorney for Plaintiff (Sign and Print Nume)

 

Address Zip Cade
Bar No - Phone No.:

NOTICE (All parties must notify the court of any address changes.)

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Defenedunt

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Address Zip Cade ededre sy Zip Cade
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You are hereby nottied thut Noone WACO: Madi

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Case 1:19-cv-00416-UNA Document1 Filed 02/19/19 Page 4 of5

INSTRUCTIONS TO DEFENDANTS.

IMPORTANT: |F YOU FAIL TO APPEAR AT THE TIME STATED OR AT ANY OTHER TIME THE COURT NOTIFIES YOU TO
00 SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY, DAMAGES OR OTHER RELIEF
DEMANDED IN THE STATEMENT OF CLAIM. IF THIS OCCURS, YOUR WAGES OR BANK ACCOUNT MAY 8E ATTACHED
OR WITHHELD OR ANY PERSONAL PROPERTY OWNED BY YOU MAY 8E TAKEN AND SOLD TO PAY THE JUDGMENT.
OO NOT FAIt TO APPEAR AT THE REQUIRED TIME,

Sefore any case goes ta trial in the Small Claims and Conciliation Branch, a trained mediator will meet
with all parties to see if a settlement can be worked out. If all parties are present when your case is called, you and
the plaintiff will be able to see a mediator and hopefully settle your dispute without having to go to trial.

You may come with or without a lawyer. The Statement of Claim indicates whether the plaintiff has a
'awyer. If the plaintiff does have a lawyer and you wish to dispute the claim, it would be in your best interest ta
have your own lawyer.

If you wish to have legal advice and feel that you cannot afford to pay a fee to a lawyer, you may contact
the Neighborhood Legal Services Program at (202) 269-5100, the DC Law Students in Court Program at (202) 638-
4798, Legal Counsel for the Elderly at (202) 434-2170 or the Legal Ald Society at (202) 628-1161. If you need
further help, come to Building B, $10 4m Street, N.W., Room 120, for more information concerning places where
you may ask for such help. You may also consult the legal aid directory on www.lawhelp.org/dc. Act promptly.

If it is impossible for you to appear on the date of trial, attempt to contact the Plaintiff to arrange a new
date. If parties agree on a date, notify the clerk of the Small Claims Branch of this court in person or by phone of
the new date. If parties cannot agree, you may contact the clerk who will inform you regarding procedures. if you
do not appear on the new date, a judgment may be entered against you.

‘Whenever corresponding with the Small! Claims clerk's office by mail, please include your case number
and your date to appear in court.

You are given the following additional instructions in the event that you intend to appear without a

lawyer:
If you have witnesses, books, receipts, or other writings bearing on this claim, you should bring them with

you at the time of the hearing.

lf you wish to have witnesses summoned, see the clerk at once for assistance.

If you admit the claim but desire additional time to pay, you must come to the hearing in person and state
the circumstances to the Court.
PUEDE OBTENERSE COPIAS DE ESTE FORMULARTO EN ESPANOL EN EL TRIBUNAL SUPERIOR DEL DISTRITO DEL
COLUMBIA, BUILDING B, 510 4™ STREET N.W., SALA 120.
YOU MAY OBTAIN A COPY OF THIS FORM IN SPANISH AT THE SUPERIOR COURT OF D.C. BUILDING B, 510 4TH

STREET N.W., ROOM 120.
Case 1:19-cv-00416-UWAV Boddhhe hO Biled 02/19/19 Page 5 of 5
SMALL CLAIMS AND CONCILIATION BRANCH

INFORMATION SHEET

 

 

 

“Plaintiff a a ae — —— pu
ENeanoas Auto ewice . Date: O-\ q -| ?
efendant

 

TRA Ake _MESOy= MOO

Name: (please print) Relationship to Lawsuit

[_] Attorney for Plaintiff

 

Firm Name, if applicable

209-NO-Aw\o
Telephone No: 6 Digit Unified Bar No. [_] Other:

Self (Pro Se)

 

= TS re

Do you need an interpreter for your case? [ ]}Yes [_] No If yes, what type:

 

 

7
AMOUNT IN CONTROVERSY: [] $1 -$500 [] $500.01 - $2,500 $2,500.01 - $10,000
PENDING CASE(S) RELATED TO THE ACTION BEING FILED:

Case No: Case No:
NATURE OF SUIT: (Check Appropriate Box(s))

 

 

A. CONTRACTS —a claim based on an agreement between parties made either orally or in writing

 

[_-] Debt Suit {| Breach of Warranty [_] Negotiable Instrument
[_] Personal Property [-] Loan [_] Rent Due
{| Unpaid Wages [_] Services Rendered [_] Security Deposit

[] Breach of Contract [_] Home Improvement Contract [-] Oral

 

B. PROPERTY TORTS ~ a claim for an injury or wrong committed on the property of another

 

 

 

 

 

 

 

 

 

 

F7 Automobile [-] Conversion [| Shop Lifting
j [_] Property Damage [-] Destruction of Property [| Trespass
| | C. PERSONAL TORT — a claim for an injury or wrong committed on the person of another
[] Assault and Battery [| False Witness [] Libel and Slander
[] Automobile [_] Personal Injury [_] Negligence
[_] Harassment [) Fraudulent Misrepresentation L_] Slip and Fall
D. [|] UNIFORM ARBITRATION ACT - an action G. [_] SUBROGATION - a claim filed by one
based on an arbitration agreement person in the place of another
E. [[] FOREIGN JUDGMENT- a judgment, decree or H. {_] COLLECTION- a claim filed by a seller or
order filed from another jurisdiction lender to collect a consumer debt
F. (.] MEDICAL MALPRACTICE -~ a claim against a healthcare provider for professional misconduct
Have you given notice of intention to file your lawsuit 90 days prior to filing? [| Yes No

 

 

CV-3046/Rev. Dec. 2016
